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Exhibit M

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September 6, 2018

James A. Gregorio, Esq. Via Email and U.S. Mail
Gregorio PLLC james@gregorioplic.com
301 S. Elm St., Ste 507
Greensboro, NC 27401

FRE 408 & California Evidence Code Section 1152 & 1154

Re: Dawn Dorland Final Settlement Demand and Reservation of Rights
Our Client: Dawn Dorland

Our File No.: 7277001

Copyrighted Work: “Dorland Kidney chain final recipient letter July 2, 2015”
by Dawn Dorland (The “Work”)

Infringing Content: Portions of “The Kindest” by Sonya Larson

Dear Mr, Gregorio:

As you are aware, this office is counsel for Dawn Dorland with respect to the issues addressed
herein as weil as in our July 20, 2018 correspondence to you.

It has come to our attention that your client continues to engage in conduct violative of the rights
of our client, While the Boston Book Festival has apparently agreed with our position as to your
client’s infringement, we are aware of further and additional conduct by your client that we believe
has infringed and continues fo infringe upon the rights of our client. The purpose of this letter is to
demand that your client CEASE AND DESIST of and from all further infringement of the rights
of our client, copyright and otherwise.

Specifically, our client has discovered claims which include but are not limited to claims under 17
U.S.C, §§ 106(1), 106(2), 106(3), and 106(5), respectively, for:

reproducing the Copyrighted Work (“Work”) in “The Kindest”;
preparing a derivative work in “The Kindest” based upon the Work;
distributing copies of the Work to AmericanShortFiction.org, Audible.com (in the United

States, United Kingdom, and Australia), BrillianceAudio.com, and the Boston Book
Festival; and

TRANSACTIONS AND LITIGATION
| BUSINESS | CORPORATE | INTERNET & TECHNOLOGY | INTELLECTUAL PROPERTY | DATA BREACH | NEW MEDIA |

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e publicly displaying the Work on the aforementioned websites.

While the Boston Book Festival has decided not to publish “The Kindest”, by no means does this
address the infringement by your client that has occurred up to this point in time, nor the damages

inflicted as a result of her actions, including attorney’s fees and costs incurred in the enforcement
and protection of our client’s rights.

We have attempted to resolve this matter with your client through your office by requesting that
your client agree, at least informally, to cease and desist of and from further violations, and thus
far, your client has refused to acknowledge the rights of our client or admit what everyone else
seems to agree upon, that the actions of your client have already infringed the rights of our client.
There has been no explanation for the refusal to acknowledge these rights or the wrongdoing of

your client except ambiguous, wholly inapplicable assertions of “fair use”; unfortunately, this
leaves us in a difficult position,

At this time, we require that your client acknowledge the rights of our client, in writing, and we
require that your client formally agree to cease and desist of and from further violations.
Additionally, we need to resolve the matter of significant attorney’s fees and costs incurred as the
direct result of your client’s actions. The failure to take these matters seriously and to resolve this
matter informally at this time may result in the formal assertion of such rights against your client.

Specifically, to the extent that your client is unwilling to voluntarily agree to cease and desist from
further violation of our client’s rights, we intend to take action to require her compliance. Should
that be necessary, we will be asserting a full litany of claims against your client and seek ali
available damages, including attorney’s fees and costs, Furthermore, given the nature of the

infringement, we intend to address these claims in the Central District of California located in Los
Angeles, California.

We have attempted to come to a mutually agreeable solution with you about these past claims, and
despite not yet obtaining a resolution of these claims, we remain willing to discuss settling these
claims once and for ail. However, given the time and resources we have expended to-date on this
matter, we now shall be seeking a full recovery of the damages to which our client may be entitled,
in addition to satisfaction of claims that can be pursued in a court of law.

Such an endeavor will most certainly cause both of our clients to devote substantial resources
including time and energy to these claims. There is virtually no likelihood that your client will

prevail, as your client’s infringement is undeniable. In order to avoid this path, our client
demands the following:

1) Your client will execute a stipulated judgment in the amount of $180,000 to be held and
not filed unless and until your client violates the further terms of a written settlement
agreement,

2) That your client agrees io cease and desist of and from any further violation of our client’s
copyrights with respect to the Work, or anything derivative thereof in “The Kindest”, or
any other publication.

3) Your client agrees to reimburse actual legal expenses incurred of $15,000.00
commensurate with execution of the settlement agreement,

4) Other terms typical of an agreement of this type.

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Should your client continue to stonewall further discussions along these lines, she will not be
pleased with the result. Should we not hear from you within ten (10) days of the date of this letter,
this demand shall automatically expire without further notice and shall not be renewed.

The foregoing is not intended to be a full litany of all rights that our client may have. Nothing
contained herein, or not expressly included, shall be taken as a waiver of any other rights that our
client may have, and all such rights are expressly reserved. Our client is truly hopeful that your

client takes the reasonable path here, but please understand that the present circumstances will
simply not be tolerated any further.

Very truly yours,

COHEN BUSINESS LAW GROUP
A Prafe sional Cor) oration

MICHAEL S. HANNA

MSH/nk

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